       No. 2:23-bk-00427              Doc 203-1 Notice
                                                Filed 05/13/24 Entered 05/13/24 13:52:19
                                                       Recipients                                                         Page 1
                                                        of 7
District/Off: 0424−2                         User: ad                               Date Created: 5/13/2024
Case: 2:23−bk−00427                          Form ID: pdfdoc                        Total: 439


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
1676012     Emilie Smith
1676013     Emily Rosier
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1676015     Michael Dilley
1676017     Rebecca Shumway
1676018     Roy Colbank
1676019     Shawn Foster
1676020     Sondra Hoxie
1676021     Teresa Bracken
1676022     Teresa McVicker
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            700        Charleston, WV 25301
acc         Brown, Edwards & Company, L.L.P             3906 Electric Road         Roanoke, VA 24018
db          Alderson−Broaddus Endowment Corporation               101 College Hill Dr.       Philippi, WV 26416
cr          United States Department of Agriculture, Farm Service Agency            1550 Earl L. Core Rd          Suite
            102        Morgantown, WV 26505−5920
cr          United States Health Resources and Services Administration           5600 Fishers Lane          Rockville, MD 20857
cr          Samantha Croston          c/o Spencer D. Elliott        Lewis Gianola PLLC          300 Summers Street, Suite
            700        Charleston, WV 25301
cr          DACK Investments, LLC             c/o Michael Proctor / Bowles Rice LLP         1800 Main St, Ste
            200        Canonsburg, PA 15317
acc         Kelli Cobb        Smith, Elliott & Kearns & Company, LLC             19405 Emerald Square           Suite
            1400         Hagerstown, MD 21742
cr          Christopher Brian Knotts         Post Office Box 455         Anmoore, WV 26323−0455
aty         Jami B. Nimeroff         Brown McGarry Nimeroff LLC             Two Penn Center, Suite 610           1500 John F.
            Kennedy Blvd          Philadelphia, PA 19102
1673701     Alderson Broaddus Education Endowment Corpora               P. O. Box 2004         Philippi        WV 26416
1673702     Alderson−Broaddus Endowment Corporation and s              101 College Hill Dr.         Philippi, WV 26416
1673704     American Express          20500 Belshaw Ave Ste A           Carson, CA 90746
1673705     Arnold D. Scott         14 Courtland Ave.         Stratham        NH 03885
1673710     CBIZ Insurance Services          200 Princeton South Corp. Cent         200 Charles Ewig Blvd           Ewing, NJ
            08628
1673711     Cedric Bishop         c/o Michael A. LaBollita, Esq.        150 East 18th St., Suite PHR          New York, NY
            10003
1673712     CIT         21146 Network Place         Chicago, IL 60673
1673713     City of Philippi       P. O. Box 460        Philippi, WV 26416
1673714     Citynet, LLC        100 Citynet Drive         Bridgeport, WV 26330
1673715     Constellation       PO Box 5473          Carol Stream, IL 61097
1673716     Dell Finance LLC          P O box 81577          Austin, TX 78708
1673717     Enterprise Rent−A−Car, Inc.          148 Carrier Way, Suite H         Scott Depot, WV 25560
1673718     First Insurance Funding Corp.         PO Box 7000          Carol Stream, IL 60197
1673722     Liaison International        311 Arsenal Street        Watertown, MA 02472
1673723     Longhouse Capital Advisors LLC            1240 W. Barry Ave.         Chicago, IL 60657
1673724     LRAP Risk Purchasing Group, LLC             1011 Warrenville Road Ste 100           Lisle, IL 60532
1673726     Peoples Bank         201 Pennsylvania Ave          Charleston, WV 25302
1673727     Philip E. Cline       PO Box 119          Huntington, WV 25706
1673734     Sutter Roofing & Metal Company, LLC              PO Box 2036         Clarksburg, WV 26302
1673737     The Registry        Attn: Amy Lauren Miller           3 Centennial Dr, Ste 320        Peabody, MA 01960
1673740No. WesBanco
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                        Bank WheelingDoc 203-1            Filed 05/13/24
                                               1 Bank Plaza         Wheeling, WVEntered
                                                                                      26003      05/13/24 13:52:19 Page 2
1673741    WV State Tax & Revenue             P O Box 766          Charleston, WV 25323
1673937    D. Park Smith         Law Office of D. Park Smith          of  7
                                                                        250 Cherry Springs Road, Suite 200           Hunt, TX
           78024
1673938    TK Elevator Corp.          c/o Law Office of D. Park Smith            250 Cherry Springs Road, Suite 200          Hunt, TX
           78024
1674010    Lawrence Jennings Tallman            1938 Trinity Road           Belington, WV 26250
1674032    MBS Textbook Exchange, LLC               2711 W. Ash Street           Columbia, MO 65203−4613
1674044    Andrea J. Bucklew          3749 S Preston Hwy            Tunnelton, WV 26444
1674045    Lawn and Home Services            c/o Carrol Harris          866 Teter Crossing Road          Buckhannon, WV
           26201
1673707    Barbour County Clerk           26 North Main St.          Suite 1        Philippi, WV 26416
1673708    Barbour County Sheriff − Tax Office            26 North Main St.           Philippi, WV 26416
1674124    4Imprint        101 Commerce St.            Oshkosh, WI 54901
1674125    A−1 Exterminating           Rt 1 Box 454−A           Clarksburg, WV 26301
1674126    Airgas USA LLC           5355 Benedum Dr.             Shinnston, WV 26431
1675821    Stacey M. Rogers         Post Office Box 104           Grafton, WV 26354
1674129    Amazon Capital Services Inc.           410 Terry Ave N.           Seattle, WA 98109
1674130    Amazon.com Corporate Credit             Synchrony Bank            P O Box 530958           Atlanta, GA 30353
1674132    Andrea J. Bucklew          3749 S. Preston Hwy           Tunnelton, WV 26444
1674133    Asset Management Technologies LLC                17039 Kenton Dr.           Floor 2        Cornelius, NC 28031
1674134    Association for Advancing Quality in Educator            173 Milkweed Dr.            Front Royal, VA 22630
1674135    Baker Tilly Us, Llp         Box 78975          Milwaukee, WI 53278
1674140    Branded Custom Sportswear, Inc.            7007 College Blvd.           Shawnee Mission, KS 66211
1674141    BSN Sports         P.O. Box 841393            Dallas, TX 75284
1677315    Pig BellyEntertainment          3064 ZOELLER ROAD                 ALDEN, NY 14004
1674144    Caldwell & Gregory LLC             129 Broad St. Rd.          Manakin Sabot, VA 23103
1674145    Carolina Biological Supply Company             2700 York Rd.           Burlington, NC 27215
1674146    CaseMetro LLC           520 Lincoln Ave           Suite 200         Downingtown, PA 19335
1674147    Casto Technical Services, Inc.         540 Leon Sullivan Way             Charleston, WV 25301
1677317    DLL Finance LLC            PO Box 2000           Johnston, IA 50131
1674151    Cengage Learning Inc.          200 Pier 4 Blvd.         Boston, MA 02210
1674152    Chad Hostetler, MA LPC            Barbour County Health Dept.             23 Wabash Ave.          Philippi, WV 26416
1674153    Chem−Aqua Inc.           2727 Chemsearch Blvd.             Irving, TX 75062
1674154    Cintas Corp.        6800 Cintas Blvd.          Mason, OH 45040
1677319    Michael S. Garrison          Spilman Thomas & Battle             48 Donley Street         Suite 800       MORGANTOWN,
           WV 26507−0615
1674156    CITCO Water           4938 Benedum Dr.            Bridgeport, WV 26330
1677320    Mountain East Conference            48 Donley Street          Suite 800         MORGANTOWN, WV 26501−0615
1674159    Civil War Trails Inc.        P O box 1862          Williamsburg, VA 23187
1677322    NCH Corporation           2727 Chemsearch Blvd.             Irving, TX 75062
1677324    Citynet LLC         3600 University Ave            Morgantown, WV 26505
1674163    Continental Moulding Company             5733 Webster St.           Dayton, OH 45414
1674165    Crest/Good Manufacturing Co.            90 gordon Dr.          Syosset, NY 1791
1674167    Division of Water and Waste Management               WV Dept of Environmental Protection             601 57th St.
           SE        Charleston, WV 25304
1674168    Ecolab Inc.       1 Ecolab Place          Saint Paul, MN 55102
1674169    Educational Computer Systems, Inc.            1200 Cherrington Parkway             Suite 200        Coraopolis, PA
           15108
1674170    Eide Bailly LLP         P O B 2545          Fargo, ND 58108
1674173    Emilie M. Smith         1303 Goff School Rd.            Belington, WV 26250
1674174    Employee         unpaid wages
1674175    Employee         unpaid wagers
1674176    employee         unpaid wages
1674177    Encoura, LLC          600 Congress Ave.           Suite 14025          Austin, TX 78701
1674180    Filtech Inc.      221 W 8th Ave            Homestead, PA 15120
1674181    First Insurance Funding Corp.          450 Skokie Blvd.           Suite 1000         Northbrook, IL 60062
1674182    Fisher Auto Parts        P. O. Box 2246           Staunton, VA 24402
1674183    Formax Manufacturing Corp             168 Wealthy St. SW            Grand Rapids, MI 49503
1674184    Frontier Communications           428 W. Main St.           Clarksburg, WV 26301
1674186    GE Precision Healthcare LLC            3000 N. Grandview Blvd             Waukesha, WI 53188
1674188    Grainger        100 Grainger Parkway            Lake Forest, IL 60045
1674189    Guest Supply LLC           300 Davidson Ave            Somerset, NJ 08873
1674190    H. E. Neumann Company              100 Middle Creek Rd.           Triadelphia, WV 26059
1674191    Hampton Inn Willow Grove             1500 Easton Rd.           Willow Grove, PA 19090
1674193    Hawthorne Suites         75 S View Dr.           Bridgeport, WV 26330
1674194    Higher Education Policy Commission              1018 Kanawha Blvd E             Suite 700        Charleston, WV
           25301
1674195    HigherEdJobs          715 Lake St.         Suite 400         Oak Park, IL 60301
1674197    Illume Media Group LLC             1881 Harmony Grove Rd.              Grafton, WV 26354
1674198    Independent College Enterprise Inc           2300 MacCorkle Avenue SE               Charleston, WV 25303
1674199    Internal Revenue Service          payroll tax        P O Box 7346           Philadelphia, PA 19101
1674201    John Deere Financial          Customer Service          P. O. Box 6600           Johnston, IA 50131
1674203    Johnstone Supply         125 Platinum Dr.           Bridgeport, WV 26330
1674204    Kelly Generator & Equipment, Inc.            50 technology Dr          Coal Center, PA 15423
1674205    Kevin M. Marshburn            Director of Residence Life − Belmont Abb              100 Belmont Mt Hoolly
           Rd.        Belmont, NC 28012
1674207
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          26201
1674208   Leonard's Grill    238 W. Main St.               of 7
                                                  Grafton, WV 26354
1674211    Lowe's Companies Inc            1000 Lowes Blvd.          Mooresville, NC 28117
1674212    LRAP Risk Purchasing Group, LLC              1011 Warrenville Road Ste 100             Lisle, IL 60532
1674214    MBS Textbook Exchange Inc.             2711 W. Ash St.           Columbia, MO 65203
1674218    MIddletown Tractor Sales           136 Billingsley Dr.         Buckhannon, WV 26201
1674219    Mock Medical Tools            P O Box 269         Terril, IA 51364
1674220    MON Power           P O Box 3615           Akron, OH 44309
1674221    Morgantown Printing & Binding             915 Green Bag Rd.           Morgantown, WV 26508
1674224    National Association of College Stores          528 E. Lorain St.          Oberlin, OH 44074
1674226    New Engler Flag & Banner            12 Henshaw St.           Woburn, MA 01801
1674227    NewTech Systems Inc.            1850 Dalton Ave.          Ashland, KY 41102
1674228    Oak Hall Industries         251 Lee Hwy          Chilhowie, VA 24319
1674231    Paris Vaughan          Associate Head Track & Field Coach Leno              625 7th Ave NE           Hickory, NC
           28601
1674232    PartnerShip LLC          528 E. Lorain St.        Oberlin, OH 44074
1674233    Patel & Patel MD Inc.          401 Division St        Suite 306          Charleston, WV 25309
1674234    Paula Daniels         Admission − Fairmont State University            1201 Locust Ave.           Fairmont, WV
           26554
1674235    Payne Publishers         8707 quarry Rd.          Manassas, VA 20110
1674236    Pearson Education Publishing Co.           330 Hudson St.           New York, NY 10013
1674242    Pig Belly Entertainment          3064 Zoeller Rd.         Alden, NY 14004
1674250    Pro−Vision Video Systems            8625 Byron Commerce Dr. SW               Byron Center, MI 49315
1674253    Quinch USA Inc.          630 Allendale Rd.          Suite 200         King Of Prussia, PA 19406
1674254    Rave Wireless Inc.         492 Old Connecticut Path           Suite 2        Framingham, MA 01701
1674255    Refried Tees        630 Belleville Ave.         New Bedford, MA 02745
1674257    Robertson Heating Supply Co.            400 N. Ohio Ave           Clarksburg, WV 26301
1674258    Royal Glass LLc          66 Spencer Dr.         Fairmont, WV 26554
1674261    Sherwin Williams          101 W Prospect Ave.           Cleveland, OH 44115
1674262    Sodexo, Inc. & Affiliates         Campus Box 2152            Philippi, WV 26416
1674265    Sprint Headquarters         6200 Sprint Pkwy.          Shawnee Mission, KS 66251
1674266    Stallard Technologies Inc.         16041 Marty Circle           Stilwell, KS 66085
1674269    Stewart's Sanitation        415 Morgantown Pike             Belington, WV 26250
1674270    Sunset Outdoor Supply Inc.           2184 Cheat Rd.          Morgantown, WV 26508
1674273    Talbott Glass        1110 Cole Ave          Elkins, WV 26241
1674275    Teresa D. VanAlsburg            WV Wesleyan College            59 College Ave.          Buckhannon, WV 26201
1674277    The Fanatic Group          301 Goolsby Blvd.          Deerfield Beach, FL 33442
1674278    The Philippi Municipal Building Commission              344 S. Main St.         Philippi, WV 26416
1674280    The Registry         3 Centennial Dr         Peabody, MA 01960
1674281    Thermo Fisher Financial Services Inc.          168 Third Ave.           Waltham, MA 02451
1674282    Thermo Fisher Scientific Inc          8365 Valley Pike          Middletown, VA 22645
1674284    TK Elevator         c/o Law Office of D. Park Smith            250 Cherry Springs Rd., Suite 200           Hunt, TX
           78024
1674285    Toyota Financial Services          P O Box 22171           Tempe, AZ
1674288    Unifirst Corporation         68 Jonspin Rd.         Wilmington, MA 01887
1674290    University Frames Inc.          3060 E Miraloma Ave            Anaheim, CA 92806
1674292    Vantage Custom Classics           100 Vantage Dr.           Avenel, NJ 07001
1674294    Walnut Lane Floral          220 N. Walnut St.         Philippi, WV 26416
1674295    WBRB−FM             1065 Radio Park Dr.          Mount Clare, WV 26408
1674297    West Virginia Higher Education Policy Commiss               1018 Kanawha Blvd E            Suite 700        Charleston, WV
           25301
1674300    WVICU           c/o Three Point Strategies LLC          P O box 7058           Charleston, WV 25356
1674301    Ysi Inc.. a Xylem brand          1700 Brannum Lane            Yellow Springs, OH 45387
1674304    Chelsea Mayle          153 Hanging Rock Road            Philippi, WV 26416
1674305    Edward Paul Burda           1532 S. Davis Ave          Elkins, WV 26241
1674306    Carrie Bodkins         30 6th Street        Belington, WV 26250
1675822    First Citizens Bank & Trust Company            PO Box 593007             San Antonio, TX 78259
1674316    Bates Carpet & Furniture Center           2829 Beverly Pike          Elkins, WV 26241
1674317    Beckley Pediatric Association Ltd          30 Mallard Ct.          Beckley, WV 25801
1674320    Builder's Center Inc.        1468 Lunice Creek Hwy             Petersburg, WV 26847
1674322    Caldwell & Gregory LLC             129 Broad St. Rd.         Manakin Sabot, VA 23103
1674325    Casto Technical Services, Inc.         540 Leon Sullivan Way             Charleston, WV 25301
1674326    CBORD Group Inc.            950 Danby Rd.           Suite 100C         Ithaca, NY 14850
1674333    Coffman's Electrical Service Inc.         51 Aspen Lane           Elkins, WV 26241
1674334    Constellation Energy          1310 Point St.        Baltimore, MD 21231
1674336    Council for Higher Education Accreditation            One Dupont Circle           Suite 510        Washington, DC
           20036
1674342    Elsevier Inc.       1600 John F. Kennedy Blvd.             Suite 1800        Philadelphia, PA 19103
1674346    Enterprise Car Rental         Tolls        600 Corporate Park Dr.           Saint Louis, MO 63105
1674352    Galls, Inc.       1340 Russell Cave Rd.          Lexington, KY 40505
1674354    Graham−Simon Plumbing Co., LLC                176 Simpson St.          Clarksburg, WV 26301
1674359    Hawkes Learning           546 Long Point Rd.          Mount Pleasant, SC 29464
1674362    Highmark Blue Cross Blue Shield West Virginia              614 Market St.          Parkersburg, WV 26101
1677407    Theresa D. McVicker            15 Elk City Road         Philippi WV 26416
1677408    Irina V. Rodimtseva          347 Satterfield Street        Fairmont, WV 26554
1674366    Johnson Controls Fire Protection          3650 Concorde Parkway             Suite 200A          Chantilly, VA 20151
1674370    LaQuentin Taylor          LaGrange College           601 Broad St.         Lagrange, GA 30240
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1674381    McCarty's Portable Toilets         2670 Berlin Rd.          Weston, WV 26452
1674383    MBS Textbook Exchange Inc.             2711 W. Ash St.    of  7 Columbia, MO 65203
1674384    McCarty's Portable Toilets         2670 Berlin Rd.          Weston, WV 26452
1674385    Merchants Automotive Group Inc.            1278 Hooksett Rd.           Hooksett, NH 03106
1674387    MIddletown Tractor Sales           136 Billingsley Dr.        Buckhannon, WV 26201
1674390    Mountaineer Gas Services LLC            P O Box 5201           Charleston, WV 25361
1674391    Mr. Mike Ross         29 Martin St.         Buckhannon, WV 26201
1674393    Nelnet Business Services          121 S 13th St. Lincoln, NE 68508
1677428    Sutter Roofing and Metal Company, Inc.            PO Box 2036           Clarksburg, WV 26302−2036
1674405    Peoples Bank         14 North Locust St.         Buckhannon, WV 26201
1674406    Peoples Bank         5 S. Main St.        Philippi, WV 26416
1674410    Philippi Baptist Church         69 Church St.         Philippi, WV 26416
1674412    Pitney Bowes Global Financial Services           3001 Summer St.           Stamford, CT 06905
1674413    Pitt Ohio Express LLC          15 27th St.        Pittsburgh, PA 15222
1674415    PNC Equipment Finance             PO Box 931034           Cleveland, OH 44193
1674416    Pocket Nurse         610 Frankfort Rd.          Monaca, PA 15061
1674417    Premier Bank Inc.         500 S. Minnesota Ave           Sioux Falls, SD 57104
1674420    Public Service Commission           P O box 812          Charleston, WV 25323
1674421    Purchasing Power LLC            2727 Paces Ferry Rd. SE           Building 2, Suite 1200       Atlanta, GA 30339
1674425    Rittenhouse Book Distributors Inc.          511 Feheley Dr.          King Of Prussia, PA 19406
1674429    Scenario Learning LLC           4890 W Kennedy Blvd Suite 300             Tampa, FL 33609
1674431    Sodexo, Inc. & Affiliates Campus           Box 2152          Philippi, WV 26416
1674432    SOSMetal Products Inc.           2495 E Tioga St.         Philadelphia, PA 19134
1674249    PrismRBS LLC            1501 Reedsdale Street          Suite 5000        Pittsburgh PA 15233
1674437    Sterling Publishing        33 East 17th St.        New York, NY 10003
1674440    Superior Environmental Services LLC             538 Country Club Road           Buckhannon, WV 26201
1674443    Taylor & Francis Group LLC            2385 NW Executive Center Dr. Suite 320             Boca Raton, FL 33431
1674446    The Fanatic Group          301 Goolsby Blvd.          Deerfield Beach, FL 33442
1674458    United Laboratories, Inc.         320 37th Ave.         Saint Charles, IL 60174
1674460    USDA Rural Development              Weston Area Office          24 Gateway Road          Weston, WV 26452
1674462    Visual Edge IT         1315 Buckhannon Pike            Clarksburg, WV 26301
1674476    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1674477    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1674478    Jesse E. Saffle       10727 Audra Park Road            Buckhannon, WV 26201
1673728    PNC BANK            Post Office Box 3429          Pittsburgh, PA 15230
1674379    Manpower          100 Manpower Place            Milwaukee, WI 53212
1674259    Mr. Joshua Russell Roberts          Administrator for the Estate of        Samuel K. Roberts         3431 Poplar
           Ave        Pittsburgh, PA 15234
1674577    MPB Print & Sign Superstore           915 Greenbag Road            Morgantown, WV 26508
1674230    Oxford University Press          Customer Service Dept           4000 Centregreen Way          Suite 310       Cary, NC
           27513
1674598    Payne Publishers, Inc.        Attn: Accounting Department             8707 Quarry Rd        Manassas, VA 20110
1674599    Longhouse Capital Advisors, LLC            1240 W BARRY AVE                CHICAGO, IL 60657
1674619    Baker Tilly US, LLP          4807 Innovate Lane           Madison, WI 53718
1674634    H.E. Neumann Co.           100 Middle Creek Rd.           Triadelphia, WV 26059
1674766    The Sherwin Williams Company             2000 Georgetowne Dr., Suite 400             Sewickley, PA 15143
1674767    Timmy L. Mayle           76 Olive Hill Rd         Philippi, WV 26416
1674768    Kathy Dawn Wolfe            664 Whitman Run Rd            Philippi, WV 26416
1674801    PNC BANK NATIONAL ASSOCIATION                        ROBERT E. WALTON                 FLAMM WALTON
           HEIMBACH             794 PENLLYN PIKE, SUITE 100                 BLUE BELL, PA 19422−1669
1674822    Derek Watkins LLC dba Leonard's Grill            238 W Main Street           Grafton, WV 26354
1674941    U.S. Department of Labor / Employee Benefits Security Administration               1335 East−West Highway, Suite
           200        Silver Spring, MD 20910
1674942    Alderson Broaddus University 403(b) DC Plan              1335 East−West Highway, Suite 200           Silver Spring, MD
           20910
1675277    Mock Medical, LLC.           Post Office Box 269          Terril, Iowa 51364
1675278    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675279    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675280    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675281    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675282    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675283    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675284    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675285    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675286    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675287    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675288    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675289    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675290    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675291    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675292    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675293    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675294    AMEX TRS Co., Inc.            c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1675301    Angela D. Vanscoy           5110 Nestorville Road          Philippi, WV 26416
1675302    Robert and Chrystal Kelley          Post Office Box 224          West Milford, WV 26451
1675318    A−1 EXTERMINATING CO., INC.                  2304 GOOD HOPE PIKE                CLARKSBURG, WV
           26301         ATTN: SAM CAPUTO                ,
1675323No. Terry
            2:23-bk-00427
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                              Post Office     203-1
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                                                             Philippi,  WV 26416 Entered 05/13/24 13:52:19 Page 5
1675324    Cary Lindgren Walters            15939 Allegheny Hwy
1675395    Busch, Zurbuch and Thompson, PLLC                            of 7Bowden,
                                                             Post Office Box   1819
                                                                                      WV 26254
                                                                                            Elkins, WV 26241
1675396    Bates Carpet & Furniture Center             Post Office Box 2772          Elkins, WV 26241
1675397    Kari Sisk        294 Greystone Drive            Philippi, WV 26416
1675398    Nathan Satzer         408 Civitan Street          Morgantown, WV 26505
1675399    Neeley Satzer         408 Civitan Street          Morgantown, WV 26505
1675506    Manpower of WV, Inc.             PO Box 385           Huntington, WV 25708−0385
1675544    CITCO Water           4034 Altizer Avenue             Huntington, WV 25705
1675678    Karla Renee Hively           50 Pine Glen Drive           Philippi, WV 26416
1675776    James Martin Owston             Post Office Box 5202           Beckley WV 25801
1675778    James T. Barry         13433 Ballentine Street            Overland Park, KS 66213
1675779    David A. Delauder           2708 Fountain Lane            Vinton, VA 24179−1502
1674172    Emad Mousa           c/o Alpha Addiction Advocates Treatment                1043 Harding Memorial Phwy            Marion, OH
           43302
1674200    Irvin & Toedt LLC           213 Wasbash Ave             Buckhannon, WV 26201
1674217    Michael D. Kochka            Wheeling University            316 Washington Ave           Wheeling WV 26003
1674267    State Electric Supply          2010 2nd Avenue            Huntington, WV 25703
1674283    Thomas Frank Moore PA−C                7210 Scottsdale Road           Fairmont WV 26554
1674229    Oak Hill Publishing Company              Box 6473          Naperville IL 60567
1674298    World Fuel Services Inc.           9800 Northwest 41st Street           Suite 400        Miami, FL 33178
1673703    Alexanderia Herron on behalf of others simila             c/o Anthony Majestro, Esq.          405 Capital Street      Suite
           1200         Charleston, WV 25301
1674264    Specialty Chemical Company               2018 King Edward Ave SE             Cleveland TN 37311
1674286    Tri−State Roofing & Sheet Metal Company Inc                 101 South Meadville Road           Davisville WV 26142
1674287    Turnitin, LLC         2101 Webster St.           Suite 1800          Oakland, CA 94612−2946
1673735    Teresa Van Alsburg on behalf of other similar             c/o Anthony Majestro, Esq.          405 Capitol St., Suite
           1200         Charleston, WV 25301
1675880    Constellation NewEnergy − Gas Division, LLC                 1310 Point Street        Baltimore, MD 21231
1675886    Lora R. Bryant         713 Natural Bridge Road             French Creek, WV 26218
1676009    Ford Motor Credit − Leased             PO Box 65057            Dallas TX 76265
1676016    Phillip Northey         214 Westwood Ave.             Bridgeport, WV 26330
1676023    AAA South Central Ohio              1414 12th St.         Portsmouth, OH, 45662
1676024    AAQEP           Assoc for Advancing Quality in Educator               173 Milkweed Dr.         Front Royal, VA,
           22630
1676025    Almabase, Inc.         2443 Fillmore St.           San Francisco, CA, 94115
1676026    American Benefit Corporation              9200 US Route 60           Ona, WV, 25545
1676027    American Fence Co LLC               200 7th St.        Fairmont, WV, 26554
1676028    Apperson         P O Box 480309              Charlotte, NC, 28269
1676030    Barbour County Chamber of Commerce                  Box 2124          Philippi, WV, 26416
1676031    Blackbaud         65 Fairchild St.          Charleston, SC, 29492
1676032    Blaine Window Hardware Inc               17319 Blaine Dr.          Hagerstown, MD, 21740
1676033    Blueville Laundry          226 Lincoln St.          Grafton, WV, 26354
1676034    BMI         10 Music Sq. E.           Nashville, TN, 37203
1676035    Carpenter Bus LLC            132 Royal Oaks Blvd             Franklin, TN, 37067
1676036    Carrier Enterprise         4300 Golf Acres Dr.            Charlotte, NC, 28208
1676037    CDW Government Inc.              7927 Jones Branch Dr.           McLean, VA, 22102
1676038    ClubCar LLC           P O Box 204658             Augusta, GA, 30917
1676039    College House          3495 Piedmont Rd. NE              Building 12, Suite 402         Atlanta, GA, 30305
1676040    Collegiate Enterprise Soluions            3 Centennial Dr. #50G          Peabody, MA, 01960
1676041    Community Foundation of the Chattahoochee                 Valley        1340 13th St.        Columbus, GA, 31901
1676042    Consensus Cloud Solutions             700 S. Flower St.         15th Floor        Los Angeles, CA, 90017
1676043    Creative Knitware Inc.           P O box 921852           Norcross, GA, 30010
1676044    Cross Pump & Equipment co.               5014 Raven Dr.          Charleston, WV, 25306
1676045    Davis Consulting Group LLC               18570 Windsor Forest Rd.           Mount Airy, MD, 21771
1676046    eFax Corporate          700 Flower St.          15th Fl         Los Angeles, CA, 90017
1676047    Embassy Suites          7930 Jones Branch Dr.             McLean, VA, 22102
1676048    FedEX          942 South Shady Grove Rd.              Memphis, TN, 38120
1676049    Ferguson Enterprises Inc.           751 Lakefront Commons              Newport News, VA, 23606
1676050    First Citizens Bank & Trust Co.            2807 Jefferson St. N         Lewisburg, WV, 24901
1676051    Franklin Athletic Boosters           750 E 4th St.         Franklin, OH, 45005
1676052    Gas & Oil Association of West Virginia             300 Suymmers St. Suite 820            Charleston, WV, 25301
1676053    Health Equipment Services             29 S. Sixth St.        Suite 203        Indiana, PA, 15701
1676054    HUDL           29775 Network Place             Chicago, IL, 60673
1676055    J F Allen Company            5856 Saltwell Rd.          Bridgeport, WV, 26330
1676056    Jardine Associates         200 Compass Circle             North Kingstown, RI, 02852
1676086    Journeyed.com, Inc.           80 E McDermott Dr             Allen, TX, 75002
1676087    Kaiser's Coffee & Candy Inc             1065 Point Pleasant Rd          Belington, WV, 26250
1676088    Land of Canaan Homeowner's Association Inc.                 99 EFG Dr.          Davis, WV, 26260
1676089    Loeb & Loeb LLP            345 Park Ave           New York, NY, 10154
1676090    Marion County Sheriff            Tax Office         200 Jackson St., #101          Fairmont, WV, 26554
1676091    Martin's Turf Care          86 Ranch Rd.          Fairmont, WV, 26554
1676092    Maryland Child Support            P O box 17396            Baltimore, MD, 21297
1676093    McAllister & Quinn            1625 Eye St. NW            suite 750        Washington, DC, 20006
1676094    McCoy's Elevator Inspection LLC               317 Poplar Dr.         Scott Depot, WV, 25560
1676095    MCM Business Systems               1315 Buckhannon Pike            Clarksburg, WV, 26301
1676096    Medco Supply Inc.           P O Box 234038            Encinitas, CA, 92023
1676097    Micrologic, Inc.         P O Box 328           Buckhannon, WV, 26201
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1676099    NComputing Global Inc             400 Concar Dr.         4th Floor         San Mateo, CA, 94403
1676122    New Pinnacle Consulting Grou[                              of  7
                                                    19825 B N Cover Rd. #105              Cornelius, NC, 28031
1676123    Nordic Co., Inc.         5 Tripps Lane         Riverside, RI, 02915
1676124    Northwestern Mutual Life Insurance Co.             99 Cambridge Place           Bridgeport, WV, 26630
1676125    Notifii LLC Software           8150 Sierra College Blvd.         Suite 230         Roseville, CA, 95661
1676126    Omnigo Software            10430 Baur Blvd #1905           Saint Louis, MO, 63132
1676127    PA Turnpike Poll by Plate           300 East Park Dr.         Harrisburg, PA, 17111
1676128    Physician Assistant Education Association (PAEA)              655 K St. NW           Suite 700        Washington, DC,
           20001
1676129    Principal Life Insurance Co.          P O box 10431          Des Moines, IA, 50306
1676130    Pro Tuff Decals         7505 Eastgate Rd.          Crystal Lake, IL, 60014
1676131    Regroup Mass Notification            3400 N. Central Expy          #110−256          Richardson, TX, 75080
1676132    Roane County Sheriff           Tax Department          200 Main St.          Spencer, WV, 25276
1676134    SESAC Inc           Society of European State Authors and            Composers          35 Music Sq. E        Nashville, TN,
           37203
1676135    Sigma−Aldrich, Inc.           P O Box 14508          Omaha, NE, 68178
1676136    Source4          19520 W. Catawba Ave            Suite 113        Cornelius, NC, 28031
1676137    Stationers, Inc.       100 Co Rd 2/19           Huntington, WV, 25702
1676138    Tennant Company             10400 Clean St.         Eden Prairie, MN, 55344
1676139    Texas Book Company              8501 Technology Cir          Greenville, TX, 75402
1676140    The Inter−Mountain           520 Railroad Ave.          Elkins, WV, 26241
1676142    The Standard Insurance Company              1100 SW Sixth Ave.           Portland, OR, 97204
1676143    The Wall Street Journal          Customer Service          1211 Avenue of the Americas            New York, NY,
           10036
1676144    TimeClock Plus Software             11902 Burnet Rd.         Suite 350         Austin, TX, 78758
1676145    Triform Custom Apparel             7007 College Blvd         #240         Shawnee Mission, KS, 66211
1676146    Unite        2202 Farleigh Rd.          Columbus, OH, 43221
1676147    United States Postal Service          105 Railroad St.        Philippi, WV, 26416
1676148    US Department of Labor            Alderson Broaddus University 403(b) DC P              1335 East−West Highway Suite
           200        Silver Spring, MD, 20910
1676149    VoIP Supply          80 Pineview Dr          Buffalo, NY, 14228
1676150    W&W Quick Pit and Car Wash               15920 Barbour County Hwy              Philippi, WV, 26416
1676151    Waterlogic USA           77 McCullough Dr            #9        New Castle, DE, 19720
1676152    West Virginia Division of Labor           1900 Kanawha Blvd E             Build 3 Room 200          Charleston, WV,
           25305
1676153    West Virginia Wesleyan College             59 College Ave.         Buckhannon, WV, 26201
1676154    Westcom Wireless            2733 Leechburg RD            New Kensington, PA, 15068
1676155    WEX Bank by Raisin             111 East Sego Lilly Dr.         Midvale, UT, 84047
1676156    Workforce West Virginia            153 West Main St.          Suite B         Clarksburg, WV, 26301
1676157    WV Dept of Environmental Protection              Division of Water and Waste Management              601 57th St.
           SE        Charleston, WV, 25304
1676158    WVCFN − West Virginia Nursing Scholarship                Program          1018 Kanawha Blvd E           Suite
           700        Charleston, WV, 25301
1676159    Zoho Corp.          4141 Hacienda Dr          Napa, CA, 94558
1676160    Blackbaud Raiser's Edge           65 Fairchild St.        Charleston, SC, 29492
1676161    CIT Finance LLC            10201 Centurion Parkway N.            #100         Jacksonville, FL, 32256
1676162    FACTS Management Company                 100 North 56th St.          Suite 306        Lincoln, NE, 685
1676163    Arellano University          2600 Legarda St.         Sampaloc, Manila Philippines
1676181    ThyssenKrupp Elevator            901 Morris St.         Charleston, WV, 25301
1676182    Connect for Education           620 Herndon Parkway            Suite 200        Herndon, VA, 20170
1676183    Pepsico        700 Anderson Hill Rd.           Purchase, NY, 10577
1676184    MedProctor LLC            2126 21st Ave S.          Nashville, TN, 37212
1676185    Passageways          8 North 3rd St.         Suite 101        Lafayette, IN, 47901
1676186    Xerox         201 Merritt 7         Norwalk, CT, 06851
1676187    Northeast Natural Energy LLC            707 Virginia St E         Suite 1200         Charleston, WV, 25301
1676903    Danny Lee Franke            161 Hilltop Drive        Philippi WV 26416
1676917    AMEX TRS Co., Inc.             c/o Becket and Lee LLP           PO Box 3001           Malvern PA 19355−0701
1676133    Robert and Chrystal Kelley           P O Box 224          West Milford, WV, 26451
1676011    Deanna Leach          223 Dunkin Ave            Bridgeport, WV 25330
1677112    Austin H. O'Conner           1527 7th Avenue          Charleston, WV 25387
1677664    Emily J. Rosier         643 Tacy Sunshine Rdg. Road             Philippi, WV 26416
1677676    Alderson−Broaddus Endowment Corporation                 101 College Hill Dr.         Philippi, WV 26416−4600
1677677    Barbour County Sheriff − Tax Office            8 North Main St.          Philippi, WV 26416−1121
1677678    City of Philippi        P O Box 460          Philippi, WV 26416−0460
1677679    Freedom Bank           Philippi Branch         124 S. Main St.         Philippi, WV 26416
1677680    Internal Revenue Service           Central Insolvency         P O Box 7346          Philadelphia, PA 19101−7346
1677681    Internal Revenue Service           Centralized Insolvency         P O Box 7346           Philadelphia, PA
           19101−7346
1677682    Nesco, Inc.        709 MIddletown Rd.            Fairmont, WV 26554−5451
1677683    Peoples' Bank         1200 3rd Ave.          Huntington, WV 25701−1510
1677684    Petroleum Development Corp.             P O Box 26          Bridgeport, WV 26330−0026
1677685    Philippi Municipal Building Commission              Wells Fargo − Master Trustee           344 S. Main St.        Philippi,
           WV 26416−1252
1677686    Preston County Sheriff           Tax Office        103 W. Main St.          Kingwood, WV 26537−1135
1677687    Roane County Sheriff           Tax Office         200 Main St.         Spencer, WV 25276−1411
1677688    Tucker County Sherriff           Tax Office        215 1st St.        Parsons, WV 26287−1277
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1677690    USDA − Rural Development             WV Office            of  7
                                                                    1550 Earl Core Rd., Suite 101        Morgantown, WV
           26505−5920
1677691    USDA Rural Development              WV Office          1550 Earl Core Rd, Suite 101         Morgantown, WV
           26505−5920
1677692    United States Trustee         2025 United States Courthouse          300 Virginia Street East        Charleston, WV
           25301−2503
1677693    WV Department of Environmental Protection              601 57th St., SE       Charleston, WV 25304−2300
1677694    WV State Tax & Revenue             Bankruptcy Unit          P O box 766        Charleston, WV 25323−0766
1677695    WV State Tax & Revenue             P O Box 766          Charleston, WV 25323−0766
1677696    Workforce WV           40 Commerce Dr.            Suite 200       Morgantown, WV 26501−3952
1677697    Sarah C. Ellis       Steptoe and Johnson           P.O. Box 1588        Charleston, WV 25326−1588
1677698    Thomas Fluharty          408 Lee Avenue           Clarksburg, WV 26301−3638
1677699    Sodexo and its affiliates       Adrienne Vadell Sturges, VP & Assoc. Gen Counsel             915 Meeting Street, 15th
           Floor        North Bethesda, MD 20852
1677700    Independent College Enterprise, Inc.         c/o Bruce M. Jacobs         Spilman Thomas & Battle, PLLC            300
           Kanawha Boulevard, East            Charleston, WV 25301
1677701    Liaison International LLC          311 Arsenal Street, Suite 5600        Watertown, MA 02472            ,
1677702    Othot, Inc.       311 Arsenal Street, Suite 5600          Watertown, MA 02472           ,
1677730    Pitney Bowes Global Financial Services LLC             27 Waterview Drive          Shelton, CT 06484
1677734    City of Phillipi       PO Box 460          Phillipi, WV 26416
1677735    Peoples Bank         201 Pennsylvania Avenue            Charleston, WV 25302
1677736    Teresa Vanalsburg, indiv & on behalf of class pled           c/o Anthony J. Majestro, Esq.       Powell & Majestro
           PLLC          405 Capitol Street, Suite 807         Charleston, WV 25301
1677737    Samantha Croston, indiv & on behalf of class pled           c/o Anthony J. Majestro, Esq.        Powell & Majestro
           PLLC          405 Capitol Street, Suite 807         Charleston, WV 25301
1677893    Tammy Jean Tallman            1938 Trinity Road          Belington, WV 26250
1677896    Bailey Fedun         393 Raymondskill Road            Milford PA 18337
1677933    Pitney Bowes Inc          27 Waterview Dr, 3rd Fl          Shelton, CT 06484
1677950    U.S. Department of Education           400 Maryland Ave, SW            Washington, DC, 20202
1678094    Lykins Energy Solutions          9800 NW 41 Street           Miami, FL 33178
1680121    Kimberly A. Levy           WorkForce West Virginia           1900 Kanawha Blvd East           Bldg. 3 Suite
           300        Charleston, WV 25305
1680122    WorkForce West Virginia            1900 Kanawha Blvd. East           Bldg. 3 Suite 300       Charleston, WV
           25305
1676029    Arete Advisors LLC           4800 T−Rex Ave           Suite 350        Boca Raton FL 33431
1680702    U.S. Department of Health and Human Services, HRSA                Eric Wolfish, HHS/OGC           801 Market St., Ste
           9700        Philadelphia, PA 19107
1675300    Christopher Brian Knotts          Post Office Box 455          Anmoore WV 26323−0455
           Mike Ross, Inc.         345 Moton Avenue            Buckhannon, WV 26201
           Earl Maxwell, Esq.         P.O. Box 100          Dailey, WV 26259
                                                                                                                  TOTAL: 417
